  DEPARTMENT OF CORRECTIONS                                                                                    WISCONSIN
  Department of Adult Institutions                                                                       Administrative Code
  DOC-410 (Rev. 04/18)                                                                                    Chapter DOC 310


                                                 ICE RECEIPT
                                     COMPLAINT NUMBER OSCI-2021-4618
                                        * * * ICRS CONFIDENTIAL * * *

      To: BROWN, LEE A. - #385934
          UNIT: _WN1 -- W092_U
          OSHKOSH CORRECTIONAL INSTITUTION
          PO Box 3310
          OSHKOSH, WI 54903-3310



      Complaint Information:
         Date Complaint Acknowledged:      03/24/2021
         Date Complaint Received:          03/24/2021
         Subject of Complaint:         6 - Personal Physical Conditions

         Brief Summary:                Has a cellmate that has a walker in the cell

         This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
         the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
         complaint will be made and submitted to the appropriate reviewing authority within 30 days of
         acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
         receipt of the recommendation unless extended for cause.
              Please write to the ICE if this issue is resolved before you receive an answer.




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                                                    ** ICRS CONFIDENTIAL **
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